 

Case 2:95-cr-20005-bH|\/| L)ocumentbb l-lled ua/us/uo Pag'l'§j ots F'ageiD 11

 

 

 

 

   

 

 

 

 

 

 

PROB 22 DocKET NuMBER man court)
(Rev. 2/83)
TRANSFER OF JUR|SD|CT|ON 2:95CR20005-002
DocKET NuMeER (Rec. coun)
0971 5 : OSCR00439-01 RMW
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Westem District of Weste ": m 3'-" w
Marvel L. Salvant Temwsee tem§; §§ § §§
58 Natividad Road, Apartment 4 ij ” §~,-' .
galinas, CA 93906 NAME oF sENTENclNG JuDGE f- §§; :: ‘-°
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Honorable Julia Smith Gibbons 3 §
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PROBAT|ON!SUPERVISED 1 1/25/04 3
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Possession With latent to Distribute Cocaine Base 21 U.S.C. § 841(a)( l)

 

PART 1 - ORDER TRANSFERR!NG JURISD|CT|ON

 

uNiTED sTATEs DlsTRlcT couRT FoR ‘rHE Westem DlSTR|CT OF Tennessee

lT |S HEREB¥ ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or
supervised releasee named above be transferred with the records of the Court to the United States
District Court for the Northern District of Cajifornia upon that Court's order of acceptance of
jurisdiction This Court hereby expressly consents that the period of probation or supervised release
may be changed by the District Court to which this transfer is made without further inquiry of this
court.*

5\.\- l, ?-¢°§ y y

Date United States District Judge

‘This sentence g be deleted in the discretion of the transferri@ Court.
PART 2 - ORDER ACCEPT|NG JUR|SDICTION

 

 

 

_ uNlTED s'rA'rEs DlsTRlcT couR‘r r-“oR THE Northem District of Ca|ifornia

lT |S HEREBY ORDERED that jurisdiction over the above-named probationer/supervised
releasee be accepted and assumed by this Court from and after the entry of this order.

cf l’¥(u'\/ § l/\/

Effective Date United States District Judge

 

 

 

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FROBATK,N oFFIcE CH!EF U.S. PROBATION OFFICER

 

 

Please re l to: Un- PHU~;WUV UF "" 450 Go|den Gate Avenue
280 s Firs'i screen see. 106 h€SlB-'l~| D|SM)T OF TE.H'&£WMBM ; P.o. eox 36057
San Jose, CA 95113 San rancisco. CA 94102-348?
(403) 535-5200 TEL.' (415) 436-7540
(408} 535-5206 FAXZ (415) 436-7572

July 14, 2005

Anna B. Wells, DCUSPO

234 Cliford Davis Federal Bldg.
167 North Main Street
Mernphis, TN 38103

Re: MarvelL.Salvant
Dockct NO.: 2295CR20005-02

TRANSFER OF IURISDICTION
Dear Chief Wells:

Enclosed please find the Transfer of Jurisdiction forms transferring jurisdiction of the above-
referenced case from the WD/Tennessee to the Northern
District of California. To finalize this transfer, please forward this letter to your clerk’s office
with instructions to tile.

If you have any questions regarding the above, please do not hesitate to contact me at the number
shown below.

Sincerely,

rim C»o /@XL
orian D s

U S Probation Officer
(408) 535-5217

Enclosures
adl

NDC-GEN-002 05/25/05

 

UNITED §TATE DI§TRICT COURT- WESTERN DI§TRICT OF TENNE§§EE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 65 in
case 2:95-CR-20005 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Paul M. O'Brien

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

